
The prisoner was indicted at the Superior Court of law for Wythe county, in October, *841813. The indictment charged that the prisoner “with force and arms feloniously did steal, take, and carry away out of the mail of the United States, three packages containing articles of value, one directed to Philadelphia, one to Pennsylvania, and one Northward, which packages had been delivered to Gardner I. Grant, (who was mail carrier) to carry them from Wythe court-house to Montgomery court-house, contrary to the form of the act of the cong'ress of the United States, in such case made and provided, and against the peace and dignity of the commonwealth.” The prisoner was tried on this indictment, and found guilty by the jury. He 322 moved to *arrest the judgment for the following reasons: “1st. Because he says that the offence in the indictment being created by an act of congress, this court being a state court, has not jurisdiction thereof. 2d. That no judgment can be rendered, the offence being laid as a felony in the indictment, and a misdemeanor only by law. 3d. That the indictment is insufficient, as it does not state what the articles of value were, which the packets contained.”
The superior court adjourned the case to the general court, on the following points.
“1st. Whether as the offence described in the indictment is created' by an act of congress, this court being a state court, has jurisdlotion thereof. 2d. Wheth er the offence created by the act of congress is a felony, or misdemeanor only. 3d. If the offence created by the act of congress be only a misdemeanor, can the court give a judgment on the indictment in this case, which charges the offence to have been feloniously committed. 4 th. Is the indictment sufficient in this- case to authorize the court to give a judgment thereon, as the particular articles of value contained in the package mentioned in the indictment are not set out and described. Sth. Is it necessary to be stated in the indictment that the packages contained articles of value, or 323 is the offence ^complete without it. 6th. If judgment is given against the prisoner, where is he to be confined; in the prison of the county where the offence was committed, or in the public jail and penitentiary house of this commonwealth.”
The general court, November 11th, 1813, consisting of judges White, Stuart, Brockenbrough, Semple, Allen, Randolph, Dabney and Daniel, entered the following judgment on 'their records. “The court doth unanimously decide, that as the offence described in the indictment in this case, is created by an act of congress, the said superior court, being a state court, hath not jurisdiction thereof ; and that as a state court hath not jurisdiction of the said offence, it would be improper for this court to decide the other questions submitted to them in the said adjourned case.”
